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                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA


NATIONAL SMALL BUSINESS UNITED,
  et al.,

              Plaintiffs,

       vs.                                     Case No. 5:22-cv-01448-LCB

JANET YELLEN, in her official capacity as
   Secretary of the United States Department
   of Treasury, et al.,

              Defendants.


           PROPOSED BRIEF OF AMICI CURIAE FACT COALITION,
               TRANSPARENCY INTERNATIONAL U.S., AND
                MAIN STREET ALLIANCE IN SUPPORT OF
        DEFENDANTS’ MOTION TO DISMISS OR IN THE ALTERNATIVE
               CROSS MOTION FOR SUMMARY JUDGMENT
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                     IDENTITY AND INTERESTS OF AMICI CURIAE

       Amici are transparency organizations and a small business association that advocate for

increased transparency in the global financial system and for policies that benefit small

businesses. Amici submit this brief to defend the Corporate Transparency Act’s beneficial owner

reporting requirements.

       The Financial Accountability & Corporate Transparency (“FACT”) Coalition is a

non-partisan alliance of more than 100 state, national, and international organizations promoting

policies to build fair and transparent global financial systems and to combat money laundering,

terrorist financing, and illicit finance. Financial crimes and related misconduct are often

facilitated by the use of legal entities owned and controlled by individuals whose identities are

hidden. Such entities are frequently used to hide and launder illicit proceeds. The Corporate

Transparency Act of 2021, which the FACT Coalition worked to help enact, is designed to

eliminate entities with anonymous ownership from operating within U.S. borders by requiring

those entities to identify and disclose information about their beneficial owners. The FACT

Coalition therefore has an interest in defending the Corporate Transparency Act’s beneficial

owner reporting requirements.

       Transparency International U.S. is part of the largest global coalition dedicated to

fighting corruption, partnering with businesses, governments, and citizens to promote

transparency and develop and implement effective measures to tackle and deter corruption.

Anonymous companies are frequently used to facilitate corruption and launder its proceeds

across the world. The Corporate Transparency Act, which Transparency International U.S.

helped to enact, will help prevent the use of anonymous companies to facilitate corruption by

requiring covered entities to identify and report information regarding their beneficial owners.



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Transparency International U.S. therefore has an interest in defending the Corporate

Transparency Act’s beneficial owner reporting requirements.

       Main Street Alliance is a small business membership organization that advocates for and

engages with small businesses around issues that matter the most for businesses and their

employees. MSA believes that small businesses are harmed when they are forced to compete

with illegitimate businesses that commit fraud and other crimes through the use of anonymous

shell corporations. Requiring corporations to identify the real beneficial owners of the legal

entity will help law enforcement agencies to prevent such crimes, thereby reducing harms to

legitimate small businesses. MSA therefore has an interest in defending the Corporate

Transparency Act’s beneficial owner reporting requirements.

                                       INTRODUCTION

       Anonymous corporations play a central role in global money laundering and corruption.

According to the World Bank and the United Nations Office on Drugs and Crime, anonymous

companies were used in over 70 percent of grand corruption cases they reviewed to either carry

out the corrupt activity or to hide the proceeds of it. 1 These funds both flow from and sustain

illicit activities—from human and drug trafficking to evasions of U.S. sanctions by Russian

oligarchs and the Iranian Government—that threaten U.S. national security and harm ordinary

Americans. Despite the severity of the problem, fewer than 1 percent of global illicit financial




1
  See Emile van der Does de Willebois et al., World Bank, The Puppet Masters: How the
Corrupt Use Legal Structures to Hide Stolen Assets and What to Do About It, (2011), available
at https://openknowledge.worldbank.org/server/api/core/bitstreams/e80259c9-d3ca-5d16-adef-
fec02a3989dd/content. The Court may take judicial notice of the various intergovernmental and
agency reports cited throughout this brief. Dimanche v. Brown, 783 F.3d 1204, 1213 n.1 (11th
Cir. 2015) (“Absent some reason for mistrust, courts have not hesitated to take judicial notice of
agency records and reports.” (quoting Terrebonne v. Blackburn, 646 F.2d 997, 1000 n.4 (5th Cir.
1981)).

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flows are seized annually. 2 The United States in particular is arguably “the best place to hide

and launder ill-gotten gains” because of the ease with which individuals can conceal their

identities when forming and using U.S. companies. 3 Further, the U.S. Treasury Department

estimates that illicit funds equaling at least 2 percent of U.S. GDP flow through the U.S.

financial system every year. 4

       To address this critical challenge, Congress enacted the Corporate Transparency Act

(“CTA”) of 2021 with strong bipartisan support and widespread endorsement across the political

spectrum. In so doing, Congress found that the Act was necessary to protect U.S. national

security interests and to bring the United States into compliance with international standards for

combatting money laundering. 5 The CTA accomplishes those goals by requiring companies and

similar covered entities to identify their beneficial owners at the time of formation or registration

in the United States and to provide updates as ownership information changes. As explained in

detail below, these minimal disclosures yield substantial benefits to everyday Americans,

including small business owners.



2
  Thomas Pietschmann et al., U.N. Off. on Drugs & Crime, Estimating Illicit Financial Flows
Resulting from Drug Trafficking and Other Transnational Organized Crimes 7 (2011),
https://www.unodc.org/documents/data-and-
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3
  Janet Yellen, Sec’y, U.S. Dep’t of the Treasury, Remarks at the Summit for Democracy (Dec.
9, 2021), available at https://home.treasury.gov/news/press-releases/jy0524; see also U.S. Dep’t
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haven” for individuals looking to conceal their identities through the use of anonymous shell
corporations).
4
  U.S. Dep’t of Treasury, Treasury Strategic Plan 2022-2026 23 (2022), available at
https://home.treasury.gov/system/files/266/TreasuryStrategicPlan-FY2022-2026.pdf.
5
  National Defense Authorization Act, Pub. L. No. 116-283, § 6402(5), 124 Stat. 3388, 4604
(2021).

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       The Plaintiffs in this case disagree with the general consensus that the CTA was a vital

upgrade of American anti-money laundering laws. Overstating the costs to small businesses and

downplaying the Act’s contributions, Plaintiffs suggest that the legislation cannot survive

rational basis review of various constitutional claims because the Act is “not a rational means to

achieve its stated goals.” Pls.’ Mem. Law Supp. Mot. Summ. J. (“Pls.’ MSJ”) at 2, 33. Among

other things, Plaintiffs assert that the CTA weakens the preexisting legal framework for

collecting beneficial ownership information, represents an unprecedented intrusion into privacy

rights, and will impose thousands of dollars of unwarranted costs on small businesses.

       None of this is true. The CTA is a historic anti-money laundering step that Congress

correctly understood would strengthen the ability of law enforcement—and the U.S. national

security and intelligence communities—to curtail the use of anonymous entities to commit

crimes. Moreover, the CTA’s reporting requirements are neither unusual, nor unprecedented. In

fact, most states collect more information when granting public library cards than is required

under the CTA. Finally, the CTA benefits small business owners by protecting them from unfair

and fraudulent competition, while imposing minimal costs.

       Plaintiffs’ arguments to the contrary do not withstand scrutiny. The Court should

therefore reject Plaintiffs’ constitutional claims and grant Defendants’ Motion to Dismiss or, in

the alternative, their Cross-Motion for Summary Judgment.

                                           ARGUMENT

I.     The CTA is a Critical Step Toward Curtailing the Use of Anonymous Companies
       for Illicit Activity.

       Plaintiffs argue that “the CTA is not a rational means to achieve its stated goals,” Pls.’

MSJ at 1, because the Act “does little to effectively combat financial crime and is inferior to . . .

existing” reporting requirements. Compl. ¶ 37. The Court should reject these arguments.


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Contrary to Plaintiffs’ assertions, Congress has found—consistent with years of research from

United States agencies and intergovernmental bodies—that the CTA will significantly strengthen

law enforcement, national security, and intelligence efforts. In fact, as the Secretary of Treasury

Janet Yellen recently explained, the CTA is “the single most significant” step the United States

has taken to date to curb the abuse of anonymous entities to commit financial and other crimes. 6

               Prior to the CTA, law enforcement lacked sufficient tools to curb the abuse
               of anonymous companies.

       Anonymous companies are entities owned or controlled by individuals whose identities

are hidden. That anonymity is often used to hide and launder the proceeds of domestic and

international crimes, including fraud, embezzlement, various other corruption crimes, and the

trafficking of humans, drugs, and arms. 7 Such crimes not only distort markets, they also

“victimize[] ordinary Americans.” 8 For example, anonymous entities have been used to make

“real estate purchases . . . with the proceeds of foreign corruption that price American buyers

out” and to move “cash proceeds from fentanyl sales . . . that fuel the drug epidemic in the

United States.” 9 Anonymous entities are also used to commit fraud that harms legitimate small

businesses. In one recent example, an individual in Florida pled guilty in 2021 to using

anonymous companies to steal $24 million in COVID-19 relief money from the Paycheck




6
  Janet L. Yellen, Sec’y, U.S. Dep’t of the Treasury, Remarks on Anti-Corruption as a
Cornerstone of a Fair, Accountable, and Democratic Economy at the Summit for Democracy,
(Mar. 28, 2023), available at https://home.treasury.gov/news/press-releases/jy1371.
7
  Beneficial Ownership Information Reporting Requirements, 87 Fed. Reg. 59,498, 59,500 (Sept.
30, 2022) (to be codified at 31 C.F.R. pt. 1010).
8
  U.S. Dep’t of Treasury, National Strategy for Combatting Terrorist and Other Illicit Financing
2 (2022), https://home.treasury.gov/system/files/136/2022-National-Strategy-for-Combating-
Terrorist-and-Other-Illicit-Financing.pdf [hereinafter “2022 National Strategy”].
9
  Id.

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Protection Program established by the CARES Act—money that was intended to ensure that

small business owners were able to continue paying their employees during the pandemic. 10

       Anonymous companies likewise undermine United States foreign policy and national

security efforts. As explained in a recent rulemaking that implements the CTA, foreign nationals

frequently rely on anonymous companies to evade U.S. sanctions. For example, “in March

2021, the Department of Justice charged 10 Iranian nationals with running a nearly 20-year-long

scheme to evade U.S. sanctions on the Government of Iran by disguising more than $300 million

worth of transactions—including the purchase of two $25 million oil tankers—on Iran's behalf

through front companies in California, Canada, Hong Kong, and the United Arab Emirates." 11

That scheme relied on the use of "more than 70 front companies." 12 Similarly, “Russian elites,

state-owned enterprises, and organized crime, as well as the Government of the Russian

Federation have attempted to use U.S. and non-U.S. shell companies to evade sanctions imposed

on Russia” in response to that country’s unlawful invasion of Ukraine. 13

       The abuse of anonymous entities has been prevalent in the United States, which is

regarded as “a safe haven for criminals . . . looking to disguise their identities for nefarious

purposes” 14 and is home to more corporations than any other jurisdiction. 15 Studies have also

found that anonymous corporations created in the United States are likewise used more often to




10
   87 Fed. Reg. at 59,499.
11
   Id. at 59,503.
12
   Id. at 59,504.
13
   Id. at 59,498.
14
   U.S. Dep’t of Just., supra note 3.
15
   Glob. Fin. Integrity, The Library Card Project: The Ease of Forming Anonymous Companies
in the United States 1 (2019), available at https://gfintegrity.org/wp-
content/uploads/2019/03/GFI-Library-Card-Project.pdf.

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facilitate corruption than entities formed in any other country. 16 These statistics are explained by

the ease with which anonymous companies and other entities can be created or registered in the

United States, along with the lack of a centralized database of information about who

beneficially owns these entities.

       Indeed, prior to the enactment of the CTA, the ownership data available to law

enforcement was limited to information collected by states when corporations are created and—

beginning in 2018—information reported under Treasury’s recently promulgated Customer Due

Diligence (“CDD”) Rule, which requires companies to report their beneficial ownership

information if and when they choose to open accounts at certain regulated financial institutions. 17

Contrary to Plaintiffs’ assertions that existing reporting requirements are sufficient, Compl. ¶ 5;

Pls.’ MSJ at 2-3, neither source of information is adequate to bring anonymous companies out of

the shadows.

       With respect to information collected by states, nearly all of these jurisdictions fail to

require companies to identify their beneficial owners at the time of formation. 18 In fact, a 2019

analysis by the U.S.-based anti-money laundering think tank Global Financial Integrity revealed

that in all 50 states “a person needs to provide far more personal information to a state to obtain a

library card than to create a company” that can be used to facilitate tax evasion, money

laundering, fraud, and corruption. 19 Most public libraries require proof that the applicant is the

same person who will ultimately control and use the card, including photo identification and



16
   Emile van der Does de Willebois et al, supra note 1, at 34, 121 tbl. B3 (reviewing 128 cases of
“grand corruption” that were facilitated by shell corporations and finding that U.S. corporations
were used more often than corporations formed in any other country).
17
   87 Fed. Reg. at 59,500.
18
   The Library Card Project, supra note 15, at 4.
19
   Id. at 3.

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documentation to verify the applicant’s address, such as a utility bill. 20 In contrast, none of the

50 states requires a company to report who ultimately owns or controls the company. 21

       As for the CDD Rule, the reported beneficial ownership information—and its availability

to law enforcement—is limited in several critical ways. First, the information collected by the

CDD Rule “is not reported to the Government[] and is not immediately available to law

enforcement, intelligence, or national security agencies.” 22 Second, the CDD Rule’s definition

of “beneficial owner” is underinclusive because it requires companies to report only those

individuals who hold 25 percent or more of the equity interest. 31 C.F.R. § 1010.230(d)(1).

This limitation is significant—federal prosecutors have long identified bad actors who were not

the official owner of record of a U.S. entity, yet exercised control over its operations. 23 The

CDD Rule—unlike the CTA—therefore “omi[ts] . . . persons that have substantial control of a

reporting company . . . with the foreseeable consequence of allowing illicit actors to easily

conceal their ownership or control of legal entities.” 24

       Third, the CDD Rule only collects beneficial ownership information from those

companies that choose to open accounts with certain covered financial institutions and only as of

the date the entity opens an account—not when it is formed. 31 C.F.R. § 1010.230(b)(1). As the

Treasury Department explained in the 2020 National Strategy for Combatting Terrorist and

Other Illicit Financing, the “lack of a requirement to collect beneficial ownership information at



20
   Id. at 4.
21
   Id.
22
   87 Fed. Reg. at 59,505.
23
   See, e.g., Keeping Foreign Corruption Out of the United States: Hearing Before the S.
Permanent Subcomm. on Investigations of the S. Committee on Homeland Sec. & Governmental
Affs. 111th Cong. (2010) (case study involving Teodoro Obiang who never owned yet
nevertheless exercised control over California entities formed by his legal counsel).
24
   87 Fed. Reg. at 59,562.

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the time of company formation” was one of “the most significant vulnerabilities in the United

States exploited by illicit actors.” 25 Moreover, many entities do not open accounts in the United

States—especially if their beneficial owners are from another country—and are therefore not

subject to the CDD Rule. This oversight allows anonymous entities to—among other things—

purchase U.S. real estate by wiring cash to a U.S. account held by the relevant real estate firm.

While the CDD Rule would require the bank to conduct collect beneficial ownership information

from the real estate firm itself—which holds the account—the bank would not be required to

collect information from the anonymous entity that is purchasing the real estate. 26 The CDD

Rule therefore left pronounced gaps in the fence it sought to erect around the U.S. financial

system.

               The CTA provides the necessary tools to stop the exploitation of anonymous
               companies.

       Faced with the significant vulnerabilities left in place by state requirements and the CDD

Rule, Congress enacted the CTA. The statute provides law enforcement with the tools it

previously lacked by requiring companies in the U.S. to report their beneficial ownership

information directly to the Financial Crimes Enforcement Network (“FinCEN”), a bureau within

the Treasury Department that is tasked with combatting financial crimes. 31 U.S.C. §

5336(b)(1). Going beyond the scope of the CDD Rule, the CTA requires such information at the

time of formation, registration, or—for entities that predate the CTA’s enactment—within 2

years of the law coming into effect. Id. The CTA also makes that information available to law



25
  U.S. Dep’t of Treasury, National Strategy, supra note 8, at 12.
26
  See Glob. Fin. Integrity, Acres of Money Laundering: Why U.S. Real Estate is a Kleptocrat’s
Dream 6-7 (2021), available at https://gfintegrity.org/wp-content/uploads/2021/08/Acres-of-
Money-Laundering-Final-Version-2021.pdf (explaining that real estate purchases are frequently
used as a money laundering vehicle).

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enforcement under secure protocols, id. § 5336(c)(2), and defines the term “beneficial owner” to

include not only those individuals who hold 25 percent or more of ownership interests, but also

individuals who exercise substantial control over the entity, id. § 5336(a)(3).

        These data collection requirements are widely regarded as a critical step towards

curtailing the use of anonymous companies to facilitate crime. As the text of the CTA itself

explains, “[f]ederal legislation providing for the collection of beneficial ownership information

for corporations . . . is needed to protect vital United States national security interests; protect

interstate and foreign commerce; [and] better enable . . . law enforcement efforts to counter

money laundering . . . and other illicit activity.” 27 These conclusions are consistent with

remarks made by Senators Whitehouse, Grassley, Wyden, and Rubio, who have explained that

the “CTA marked the culmination of a years-long effort in Congress to combat money

laundering, international corruption, and kleptocracy[.]” 28 The long campaign to bring the CTA

into existence was also joined by a wide array of other stakeholders, including the Treasury

Department, 29 various national security and law enforcement agencies, 30 and more than 130

organizations across the political spectrum that endorsed the legislation. 31

        The CTA is also consistent with international standards established by the Financial

Action Task Force (“FATF”). Composed of 39 countries, the FATF is an intergovernmental

body created to develop international standards for legal and regulatory measures—including



27
   National Defense Authorization Act § 6402(5) 124 Stat. at 4604.
28
   Letter from Sens. Sheldon Whitehouse et al., to FinCEN (May 5, 2021), available at
https://www.whitehouse.senate.gov/imo/media/doc/Senators%20CTA%20Comment%20Letter%
2005.04.2021.pdf.
29
   87 Fed. Reg. at 59,500.
30
   Id.
31
   FACT Coal., Coalition Members, https://thefactcoalition.org/about-us/coalition-members-and-
supporters/ (last visited Mar. 30, 2023).

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beneficial ownership information requirements—that can effectively combat money laundering,

terrorist financing, and other threats to the international financial system. 32 Prior to the CTA’s

enactment, the FATF specifically identified the lack of beneficial ownership information

requirements as a “fundamental gap” in the United States’ anti-money laundering regime. 33 And

in the text of the CTA itself, Congress explained that the legislation was designed to “bring the

United States into compliance with international [anti-money laundering] standards.” 34

               The CTA does not supplant the CDD Rule with inferior requirements.

       Notwithstanding this generally accepted knowledge, Plaintiffs argue that the CTA

undermines law enforcement efforts because the Act will “supplant existing beneficial ownership

reporting requirements under the CDD Rule” with “inferior” reporting requirements. Compl. ¶¶

37-38. In Plaintiffs’ view, the CTA will weaken law enforcement efforts because—unlike the

CDD Rule—the CTA “requires no supporting documentation, no review of information, and no

third-party monitoring or reporting to FinCEN.” Id. ¶ 39.

       This attempt to second-guess Congress’s judgment fails for two reasons. First, the CTA

is designed to complement, not supplant, the CDD Rule. To that end, Congress expressly

directed the Treasury Secretary to collect information under the CTA “in a form and manner that

ensures the information is highly useful in . . . facilitat[ing] the compliance of the financial

institutions with . . . customer due diligence requirements under applicable law.” 31 U.S.C. §

5336(b)(1)(F)(iv). While Congress directed the Treasury Secretary to “revise the [CDD] rule” to



32
   FATF, Who We Are, https://www.fatf-gafi.org/en/the-fatf/who-we-are.html (last visited Mar.
30, 2023).
33
   FATF, Anti-Money Laundering and Counter-Terrorist Financing Measures United States
Mutual Evaluation Report 4 (2016), available at https://www.fatf-gafi.org/media/fatf/documents/
reports/mer4/MER-United-States-2016.pdf.
34
   National Defense Authorization Act § 6402(5)(E), 134 Stat. at 4604.

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“bring the rule into conformance with” the CTA, 35 Congress was explicit that “nothing in this

section may be construed to authorize the Secretary . . . to repeal the requirement that financial

institutions identify and verify beneficial owners of legal entity customers under [the CDD

Rule].” 36 Plaintiffs’ concerns that “the CTA will likely reduce the role of financial institutions

. . . in combatting financial crimes,” Compl. ¶ 5, are therefore misplaced. And, as explained

above, the CTA will generally make data collection efforts more robust by expanding the

definition of “beneficial owner” and by collecting such information at the time of formation or

registration. Supra Part I(B). In other words, the CTA adds law enforcement tools; it does not

detract from the existing framework.

       Second, Plaintiffs are incorrect to assert that the CTA is inferior because it “requires no

supporting documentation” and “no review of information.” Compl. ¶ 39. As Plaintiffs

acknowledge, Compl. ¶ 20, the CTA does require such documentation in the form of a “unique

identifying number from an acceptable identification document,” 31 U.S.C. § 5336(b)(2)(A),

such as a United States passport; a state identification document; a driver’s license; or a foreign

passport. 37 Moreover, FinCEN’s implementing regulations make clear that the bureau will

review the submitted documentation for accuracy and authenticity. To begin, the regulations

require applicants to “specify what jurisdiction issued the identification document” precisely so

that FinCEN can “ensure that the identifying number can be identified as unique and valid.” 38

Likewise, the rule requires applicants to submit an image of the document to “help confirm the

accuracy of the reported unique identification number” and to make it “harder to provide false



35
   Id. § 6403(d)(1).
36
   Id. § 6403(d)(2)(B).
37
   87 Fed. Reg. at 59,519.
38
   Id.

                                                 12
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identification information.” 39 To the extent Plaintiffs believe that FinCEN will be less equipped

to “review[], vet[], and verify[]” such information than “compliance staff of covered financial

institutions,” Compl. ¶ 38, they offer no support for that argument.

II.    The CTA’s Reporting Requirements Are Neither Unusual Nor Unprecedented.

       Plaintiffs are likewise incorrect in asserting that the CTA’s data collection is an

“unprecedented intrusion into individual privacy rights,” Pls.’ MSJ at 23, with “no obvious

analogues in the existing laws of all fifty States,” Compl. ¶ 33. Here, the CTA requires entities

who seek to avail themselves of a government service—i.e., incorporation—to disclose

information about their beneficial owners before accessing that service. Both federal and state

law are replete with similar requirements that applicants for other government services disclose

information about the applicant’s identity.

       In Alabama, for example, a driver’s license applicant must provide her full name, date of

birth, Social Security Number, telephone number, and e-mail address. 40 Likewise, an aspiring

attorney who wishes to sit for the Alabama Bar Exam must provide—among other things—her

name, Social Security Number, other names used in the past, date of birth, marital status, and

residences for the preceding 10 years. 41 Similarly, applying for a library card with the

Huntsville-Madison County Public Library (among many others) requires providing the

applicant’s first and last name, date of birth, address, and contact information. 42 See also Defs.’



39
   Id.
40
   Ala. Law Enf’t Agency, Driver Pre-Application, http://alabamadl.alea.gov/_/#4 (last viewed
Apr. 3, 2023).
41
   Ala. State Bar, Character and Fitness Questionnaire,
http://admissions.alabar.org/browseform.action?applicationId=1&formId=724 (last viewed Apr.
3, 2023).
42
   Huntsville-Madison Cnty Pub. Libr., Register for a Library Card,
http://catalog.hmcpl.org/MyAccount/SelfReg (last viewed Apr. 3, 2023).

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Br. Supp. Mot. Dismiss at 45 (noting that the federal government imposes similar reporting

requirements for income tax, SEC disclosures, and bank deposits exceeding a certain amount).

These examples make clear that there is nothing controversial about requiring individuals—

much less corporate entities—to disclose identifying information in order to avail themselves of

government services, such as the ability to create or register a legal entity.

       Plaintiffs nevertheless insist that the CTA is unprecedented because none of the 50 states

require newly formed or registered corporations to report their beneficial owners. Compl. ¶ 33.

When looking for prior examples, however, the question is not whether the states previously

collected the exact information that Congress now seeks under the CTA. Rather, the question is

whether the federal or state governments have collected similar information in similar

circumstances. See, e.g., N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S.Ct. 2111, 2132 (2022)

(explaining that “analogical reasoning . . . requires a determination of whether the two

regulations are ‘relevantly similar’”). Both levels of government clearly have, as demonstrated

by the examples above. Moreover, to the extent the CTA’s reporting requirements are novel in

the specific context of disclosures by newly created or registered corporate entities, it is because

Congress has exercised its considered judgment that existing state disclosure requirements were

insufficient to combat money laundering and other financial crimes. 43

III.   Legitimate Small Businesses Benefit from the CTA.

       Plaintiffs find no more success in their attempt to assert that the “benefits of the CTA do

not justify the burdens it imposes on small business owners,” Compl. ¶ 37, which Plaintiffs

characterize as “profound and injurious,” id. ¶ 32. Small business owners disagree.



43
   National Defense Authorization Act § 6402(2) (noting that states do not require beneficial
ownership information); id. § 6402(5) (finding that federal legislation requiring such information
is “needed . . . to counter money laundering . . . and other illicit activity”).

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       In a 2018 poll conducted while Congress was considering the CTA, more than three-

quarters of small business owners expressed support for legislation requiring businesses to

divulge their owners’ true identities at the time of formation. 44 In the same survey, 84 percent of

small business owners said that the use of anonymous companies to win contracts or obtain

government funding was a problem. 45 In addition to facilitating unfair competition, anonymous

companies can also harm small businesses by undermining supply chains, creating difficulties in

finding responsible subcontractors, and providing cover for fraud. 46

       The fears entertained by the small business owners who answered this survey are not

hypothetical, nor are they limited to schemes by foreign powers and global cyberscammers, as

Plaintiffs would have it. Pls.’ MSJ at 33 (suggesting that Congress should have “limit[ed] the

CTA’s reporting requirements to non-U.S. persons”). In 2015, a man from Dothan, Alabama

was sentenced to nine years in prison for defrauding a government contractor through his

anonymous company. 47 Similarly, in Virginia, two executives pled guilty to creating an

anonymous company that they used to fraudulently secure $31 million in federal government

contracts. 48 And in Colorado, four men used a network of more than 20 shell companies to


44
   Small Bus. Majority, Small Business Owners Support Legislation Requiring Transparency in
Business Formation (Apr. 4, 2018), available at https://smallbusinessmajority.org/our-
research/government-accountability/small-business-owners-support-legislation-requiring-
transparency-business-formation.
45
   Id.
46
   See FACT Coal., FACT Sheet: Small Businesses Are Harmed by Anonymous Companies (Sept.
17, 2019), https://thefactcoalition.org/fact-sheet-small-businesses-are-harmed-by-anonymous-
companies/.
47
   Press Release, U.S. Att’y’s Off. for S.D. Fla., Nine Year Sentence for Alabama Man Convicted
of Defrauding Military Sub-Contractor (Mar. 2, 2015), available at
https://www.justice.gov/usao-sdfl/pr/nine-year-sentence-alabama-man-convicted-defrauding-
military-sub-contractor.
48
   Press Release, U.S. Att’y’s Off. for E.D. Va., Security Contractors Plead Guilty to Illegally
Obtaining $31 Million From Contracts Intended For Disadvantaged Small Businesses (Mar. 18,


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finance an illicit sports merchandise counterfeiting ring. 49 These are merely a few examples of

the enormous costs faced by legitimate businesses every year as a result of crimes facilitated by

anonymous entities. 50 By supplying law enforcement with the means to prevent such fraud, the

CTA benefits—rather than harms—legitimate small businesses.

       Rather than acknowledge the CTA’s benefits, Plaintiffs overstate the Act’s costs,

claiming that small businesses will be forced to pay “thousands of dollars to attorneys to

navigate the statute’s labyrinthine reporting requirements.” Compl. ¶ 34. As Plaintiffs tell it,

small business owners will need to consult attorneys to determine whether they qualify for

exemptions and to identify the beneficial owners of their businesses. Id.

       These fears are misplaced. The U.S. Small Business Administration reports that

approximately 78 percent of all businesses in the United States are non-employer firms, meaning

that there is only one person in the enterprise. 51 FinCEN estimates that such entities will spend

approximately $85 to prepare and submit an initial report to FinCEN. 52 As the bureau points out,

such costs are “comparable to (and in some cases less than) the fees that states charge for




2013), available at https://www.justice.gov/usao-edva/pr/security-contractors-plead-guilty-
illegally-obtaining-31-million-contracts-intended.
49
   Press Release, U.S. Immgr. & Customs Enf’t, Former Colorado Police Officer Sentenced for
Selling Counterfeit Denver Broncos Merchandise (Jan. 25, 2017), available at
https://www.ice.gov/news/releases/former-colorado-police-officer-sentenced-selling-counterfeit-
denver-broncos.
50
   See id. (“Trafficking counterfeit goods is the second-largest illicit trade activity, valued at
roughly $250 billion annually.”).
51
   U.S. Small Buss. Admin, Frequently Asked Questions (2012),
https://www.sba.gov/sites/default/files/FAQ_Sept_2012.pdf; see also Hearing on Outside
Perspectives on the Collection of Beneficial Ownership Information Before the S. Comm. On
Banking, Housing, & Urban Affs., 116th Cong. 6 (June 20, 2019) (statement of Gary Kalman,
Exec. Dir., FACT Coal.), available at https://thefactcoalition.org/wp-
content/uploads/2019/06/Gary-Kalman-SBC-20190620-Written-Testimony-FINAL.pdf.
52
   87 Fed. Reg. at 59,549.

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creating a limited liability company, which vary from $40 to $500.” 53 And while entities with

more complex beneficial ownership structures may need to consult attorneys for an initial filing,

only “4.9 percent of reporting companies will have a ‘complex structure.’” 54 These numbers are

consistent with past experience in countries that have implemented similar laws. In the United

Kingdom, which maintains an analogous public register of companies’ real owners, the average

number of owners per business is 1.13, and the most common number of owners is one. 55 An

analysis of the directory showed that more than 99 percent of businesses listed fewer than six

owners. 56

       Plaintiffs’ suggestion that “many reporting companies” will have difficulty identifying

their beneficial owners is therefore misleading. Compl. ¶ 34 (emphasis added). Moreover, for

those entities that do have more complex ownership structures, FinCEN has explained that such

companies “chose their structures recognizing that costs associated with legal and tax advice and

other filing and compliance obligations might be higher as a result.” 57 From a practical

standpoint, then, it is difficult to see how owners with the resources to afford professional

assistance (e.g., lawyers, accountants, and others) when intentionally establishing a complex

ownership structure would simultaneously lack the resources to identify and report their

companies’ beneficial owners.




53
   Id.
54
   Id.
55
   Hearing on Outside Perspectives on the Collection of Beneficial Ownership Information,
supra note 51, at 5.
56
   Id.
57
   Beneficial Ownership Information Reporting Requirements, 86 Fed. Reg. 69,920, 69,936
(Dec. 8, 2021).

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                                         CONCLUSION

       The CTA provides law enforcement an invaluable tool to fight domestic and global

money laundering, and it does so without imposing unreasonable costs on small businesses.

Through a de minimis disclosure at the time of a company’s formation or registration in the U.S.,

the CTA marginalizes bad actors, shores up national security interests, and creates a fairer

marketplace for legitimate competition. The Act represents a massive step forward in the United

States’ fight against money laundering, to the benefit of small business owners who have much

to lose without the Act’s protections.

       Plaintiffs’ arguments to the contrary—and their related assertions that the CTA cannot

survive rational basis review because the CTA is not a rational means of achieving Congress’s

goals—are wrong. The Court should therefore deny Plaintiffs’ motion and grant Defendants’

Motion to Dismiss or, in the alternative, Cross Motion for Summary Judgment.



Dated: April 5, 2023                              Respectfully submitted,

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